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                     12                              UNITED STATES DISTRICT COURT
                     13                            CENTRAL DISTRICT OF CALIFORNIA
                     14        JONATHAN TORAL, on behalf of       Case No. 2:14-CV-09922-BRO-MRW
                               himself and all others similarly
                     15        situated,                          ORDER GRANTING JOINT
                                                                  STIPULATION FOR AN ORDER
                     16                      Plaintiff,           DISMISSING ENTIRE ACTION
                                                                  WITH PREJUDICE
                     17             v.
                     18        INTERSTATE HOTELS &
                               RESORTS, INC.,
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                                             Defendant.
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 LITTLER MENDELSON, P.C.
     650 California Street
          20th Floor
San Francisco, CA 94108.2693
        415.433.1940
                    Case 2:14-cv-09922-BRO-MRW Document 36 Filed 08/12/15 Page 2 of 2 Page ID #:260

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                        2               Based on the Joint Stipulation for an Order Dismissing Entire Action with
                        3      Prejudice filed in this matter, and good cause appearing therefore, IT IS HEREBY
                        4      ORDERED THAT:
                        5               1.        The above-captioned case be and hereby is dismissed with prejudice as to
                        6      all claims and causes of action in its entirety pursuant to Rule 41(a) of the Federal
                        7      Rules of Civil Procedure.            The Court retains jurisdiction to enforce the Parties’
                        8      settlement agreement in this matter.
                        9               2.        Each party shall each bear its/his own attorneys’ fees and costs.
                     10                 IT IS SO ORDERED.
                     11
                               Dated:             August 12, 2015
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                                                                                  THE HONORABLE
                     14                                                           BEVERLY REID O’CONNELL
                                                                                  JUDGE OF THE UNITED STATES
                     15                                                           DISTRICT COURT
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